Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 1 of 10




          EXHIBIT C
                                                      Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 2 of 10


                                          COMMONWEALTH OF MASSACHUSETTS                                                    Superior Court Department   the      of
                                          HAMPSHIRE, SS:                                                                   Trial Court of the Commonwealth
                                                                                                                           Civil Action


                                                                                                                                              (N99?
                                                                                                                                                4   yS
                                                                                                                           No.      3.09 9
                                                                                   ,Plaintiff (s)
                                       / Seay Omy          madah      SON
                                                                        Vv.
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 but            within

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complaint


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 the
                 written




      answer




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   to          of                         To the above-named Defendant




                                                                                                                            ,
                           Office

   court
                  copy



 in               a                               You are hereby summonsed and required to serve upon                                       ,
                            Clerk’s



                                          plaintiff    attorney, whose address is 34 Ce/tel Seat                Hanpion M4 ddeo
                                                      tothe complaint which is herewith served upon you, within 20 days after service of
                 serve


  personally
                           the
                                          an answer
                           in
                                          this summons upon you, exclusive of the day of service.                    If
                                                                                                        you fail to do so, judgment by default
                                                                                                             in
                   must




                                          will be taken against you for the relief demanded      the complaint. You                     are
                                                                                                                          also required to file
   appear
                attorney
                           original
                                          your answer    tothe complaint in the office of the Clerk of this court at Northampton, either before
                                          service upon plaintiff attorney or within a reasonable time thereafter.
  not                      the
                  your

 need
                           file
                                                   Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any
                 or
                                          claim which you may have against the plaintiff which arises out of the transaction or occurrence
 You             you
                           also           that is the subject matter of the plaintiff claim or you will thereafter be barred from making such
-              either
                             and          claim in any other action.

                                                 Witness, Judith Fabricant, Esquire at Northampton, the
                           herein




                                          day of                                                , in the year of our
                                                                                                                     Lord two thousand
 DEFENDANT

               defense,




                 a
                           specified




 TO            have



               to
                            as                                                                                      Janey Tekenarky
                           days
NOTICE


               claim                                                                                                  CLERK-MAGISTRATE
                           20




                                          Notes:
                                          1. This summons
                                                          is    issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.
                                          2. When more than one defendant     is involved, the names ofall defendants should appear in the caption.   If a   separate summons   is
                                          used for each defendant, each should be addressed to the particular defendant.
                                          3. Circle type of action involved. Tort - Motor Vehicle Tort - Contract - Equitable relief.
             Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 3 of 10



                                  PROOF OF SERVICE OF PROCESS

                                                                                          , 20
         I hereby certify and return that on
                                                                                                  :


                                                                             in this action  upon th
             of
I served a copy   the within summons, together with a copy of the complaint
 within-named defendant, in the following manner (See Mass. R. Civ. P. 4(d) (1-5):




Dated:                                   ,   20
N.B.   TO PROCESS SERVER:         -
         PLEASE PLACE DATE YOU MAKE SERVICE ON DEFENDANT                     IN THIS BOX ON THE
         ORIGINAL AND ON COPY SERVED ON DEFENDANT.
                               Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 4 of 10

                                                                                        BOCKET NUMBER
                     CIVIL TRACKING ORDER                                                                                 Trial Court of Massachusetts
                              (STANDING             ORDER
                                                            1-88)                        2080CV00053                      The Superior Court

     intl                                       —
                  Maddison, Benjamin vs. Kasper, Chief                     of Police, oo   City of Northampton,
                                                                                                                           Harry Jekanowski, Jr., Clerk of       Courts

    TO:
             Jody
                     et       al

              File Copy                                                                                                   COURT NAME   &   ADDRESS

                                                                                                                           Hampshire County Superior Court
              ,
                                                                                                                           15 Gothic Street
                                                                                                                           P.O. Box 1119
                                                                                                                           Northampton, MA 01061
                                                                                                                                                        ©




                                                                                TRACKING ORDER          -A    -   Average
                          You are hereby notified that this
                                                case is on the track referenced above as per Superior Court Standing
        Order 1-88. The order requires that the various Stages of
                                                                  litigation described below must be completed not later
        than the deadlines indicated.

                           STAGES OF                LITIGATION                                                                 DEADLINE


                                                                                                                  SERVED BY             FILED BY            HEARD BY

            Service of process made and                       return   filed   with   the Court                                        08/17/2020

            Response       to the complaint filed (also see MRCP 12)                                                                   09/15/2020

        All       motions under                 MRCP
                                                       12,   19, and 20                                            09/15/2020          10/15/2020           11/16/2020

        All       motions under                 MRCP
                                                       15                                                         07/12/2021           08/11/2021           08/11/2021
        All
           discovery requests and depositions served and non-expert
        depositions completed                                                                                     05/09/2022

       All        motions under MRCP 56                                                                           06/07/2022           07/07/2022

       Final pre-trial conference held and/or firm trial date set
                                                                                                                                                            11/04/2022

       Case shall be resolved and judgment shall issue by




      final pre-trial deadline is not the scheduled date of the conference. will be notified of that date at a later
    The
                                                                                                                     time.
                                                                                                                    You

    Counsel for plaintiff must serve this tracking order on defendant before the
                                                                                 deadline for filing return of service.
   This           case   is    assigned           to




 DATE ISSUED
                                                ASSISTANT CLERK
                                                                                                                                                PHONE

      05/18/2020                   -




Date/Time   Printed: 05-18-2020    -12:21:17-
                                                                                                                                                                   SCVO026\   08/2018
                                      Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 5 of 10
                                                          DOCKET NUMBER            Trial Court of Massachusetts                                                                                                                             ,




oe
        civil ACTION                   COVER SHEET                                                                                                        The Superior Court
                                                                                                                                                    OUNTY
PLAINTIFF(S):              Benjamin Maddison                                                                                                                    Hampshire
ADDRESS:

                                                                                                                    DEFENDANT(S):            The City of Northampton, David Narewicz
73 Barrett Street, Apartment 5147, Northampton Massachusetts
                                                                                                                    Jody Kasper, and David Netto


ATTORNEY:

                                                                                                                    ADDRESS:                  29 Center Street, Northampton Massachusetts 01060
ADDRESS:




BBO:
                                                                  TYPE OF ACTION AND                 TRACK    DESIGNATION              (see reverse side)


                                                                                                                                                                |
                                                                                                                                                                    -




                                                                                                                                 TRACK                          HAS A JURY CLAIM BEEN MADE?
               CODE   NO.                                 TYPE   ACTION (specify)
                                                                   OF

                                                                                                                                   A                               YES           NO
             AB1                                 AB1   Tortious Action involving Commonwealth,                      M




TORT
Danna
*If   "Other" please describe:




nnnstise
                                                                                                                                 TO GL. c. 212, § 3A




svavceaa
                                                                        STATEMENT OF DAMAGES PURSUANT
                                                                                                                                   to determine money damages. For
                                                          the facts on which the undersigned plaintiff or plaintiff counsel relies
                                                                              of
The following     is
                 a full, itemized and detailed statement
this form, disregard double or treble damage claims; indicate single damages
                                                                               only.

                                                                                                            CLAIMS



                                                                                                                                                                                                                              ee
                                                                                            (attach additional sheets as necessary)

A. Documented medical expenses        date:     to                                                                                                                                                                                  ———
                                                                        sree
                                                                                                                                                                                                                              $


                                                                                                                                                                                                                               eee
                                                                                                                                                                                                                               ee
        1. Total hospital Expenses .............---.
        2. Total doctor expenses ...........--                                                                                                                                                                                S$


                3. Total chiropractic expenses ...........                                                                                                                                                                    $




      ee
                4. Total physical therapy expenses .............-.                                                                                                                                                            $
                5. Total other expenses (describe DelOW) -......--.-----sseessseecceenseeerestesenseeeessenennecnanssenannesenecssenscnt                  sf.                      Subtotal                        (A):       $
                                                                          ;


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                                                                                                                                                           Cpa
                                                                                                                                                                                                                                     50,900
                                                                                                                                                                                                                              $


                                                                                                                                                                                                                              Dee
       Documented lost wages and compensation to date                                                               MAGISTS
                                                                                                                EN                                                                                                            $
                                                                                                                             ;
 B.
 C.    Documented property damages               to
                                         dated ...........--+-.-1+---eer                                            ea ocecanect lui         wevasccus
                                                                                                                                                                                                                 tt
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                                                                                                                                                                                                  e
 D.    Reasonably anticipated future medical and hospital ExpENses ........---..-.ee
                                                                                                      eeesceeee reese
                                                                                                               ee


                                                                                                                                                           ee                                    _                            $150,000
 E.    Reasonably anticipated lost wages   ...-.cso-secvocsstsseenretesteneeneenernetnneatennessnennsnseneaneaneacemnaresnesee                                                                                                $         3




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 F.    Other documented items of damages (describe B@LOW)


 G. Briefly describe plaintiff's injury, including the nature and
                                                                  extent                      of injury:
                                                                                                                                                                                     TOTAL              (A-F):$                      850,000
                                                                                                 CONTRACT CLAIM
                                                                                        (attach additional sheets as necessary)

  Provide a detailed description of claims(s):                                                                                                                                                 TOTAL: $




      Signature of Attorney/Pro
  RELATED ACTIONS:                    Please
                                                 Se   Plaintiff:     X
                                                                                JE             :



                                                      provide the case number, case name, and county
                                                                                                            MA
                                                                                                     of any related actions pending                                             in the Superior Court.
                                                                                                                                                                                                                  Date:            sAgfha2


                                                                              CERTIFICATION PURSUANT                     TO SJC           RULE
                                                                                                                             Resolution (SJC
                                                                                                                                                         1:18
  | hereby certify that | have complied with requirements
                                                           of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute
                                                                                                           services and discuss with them the
                                                                  about court-connected dispute resolution
  Rule 1:18) requiring that | provide my clients with information
                                                  methods of dispute resolution.
   advantages and disadvantages of the various
                                                                                                                                                                                                                      Date:
      Signature of Attorney of Record:                        X
         Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 6 of 10




                        COMMONWEALTH OF MASSACHUSETTS

HAMPSHIRE, ss.                                             SUPERIOR COURT
                                                           Docket No.:



BENJAMIN MADDISON,
     Plaintiff,

               v.

City Of Northampton
David Narewicz
Jody Kasper
David Netto

       Defendants

                                        COMPLAINT

       Plaintiff, Benjamin Maddison (“Plaintiff’ or “Mr. Maddison”) brings this action for

damages against the City of Northampton,    Jody Kasper, Mayor David Narewicz, and Officer

David Netto asserting Defamation, emotional distress, and Violation of the 1st Amendment of

the United States Constitution.

                                           Parties

1.
                                   is
        Plaintiff, Benjamin Maddison  a resident of 73 Barrett Street, Apt 5147, Northampton,
        County of Hampshire, Massachusetts.

2.      Defendant, Jody Kasper, is the Chief of Police for the city of Northampton and
        represents the Northampton Police Department
a       Defendant, David Narewicz is the Mayor for   the City of Northampton Massachusetts
4.      Defendant, The City Of Northampton
7.      Defendant, David Netto is a patrol officer for the city of Northampton, his employment
        is with the Northampton Police Department



                                     Factual Allegations
           Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 7 of 10



      4,      On January 12th 2020, Plaintiff
                                               was pulled over by Officer Zantrofski and
      for allegedly speeding, the officer conducted                                      cited Plaintiff
                                                    himselfina rude and disrespectful manner.

      J       On January 30th 2020, Plaintiff observed
                                                           a marked Northampton Police cruiser, plaintiff
       watched the vehicle stop in front of his vehicle
                                                        and saw a female police officer with cell
      in her hand take a photo of his vehicle                                                 a    phone
                                                      on private property. Plaintiff recognized Officer
      Zantrofski in the passenger seat, Plaintiff
                                                     went to the police department and expressed his
      concern and was introduced to lieutenant Alan Borowski
                                                                    After a brief conversation Borowski
      began informing the plaintiff he did not want
      complaint was filed that day.
                                                   an    issue and would speak to the officer. No official




     6.      On February 20th 2020, Plaintiff
                                               was present at the Northampton Police Headquarters
     submit requests for records regarding the                                                       to
                                               alleged speeding citation And to request an update
     from Lieutenant Alan Borowski. Borkowski
                                                   assured Plaintiff he was handling the matter and he
     would bein  touch.

     %    On February 20th 2020, Plaintiff left the
                                                      Department and was pulled over less that a mile
  from the Police Department by Officer
                                               David Netto who
  Sargent Moody, Officer Digiamo, and Officer Netto
                                                                 later   called for backup, that when
                                                            then surrounded Plaintiffs car and
                                                                                                began
  accusing Plaintiff of having illegal window
 showed    the                                 tint
                officer the car passed inspection.
                                                    and sticker obstructing his windshield. Plaintiff
                                                    Sargent Moody accused Plaintiff of applying the
 tints after the inspection. Plaintiff
                                       was upset and expressed
 Plaintiff just left the station regarding a                    tothe officers this was harassment
                                             complaint against an officer.
                                                                                                   as

 8.       On February 20th 2020, after the incident
                                                            with Officer Netto, Sergeant Moody, and
  Officer Digiamo, there was a reason to believe
                                                      Borowksi and Netto were perpetuating
  harassment. Plaintiff officially filed internal                                              a cycle of
                                                  affairs complaints against Borowksi and Netto.
  present was Captain Cartilage who is in charge of                                                 Also
                                                            administrative duties for the Northampton
 Police. Complaints were not filed
                                       against Moody and Digamo for the reason
 the scene after the stop was initiated.                                            they were called to

 9      On February 27th 2020, Plaintiff
                                            was traveling on Main Street  in    Northampton when he
           pulled over by a Northampton Police Cruiser, Officer Brett Wilson #288
           was
                                                                                            and Paul
        Barry #244 approached Plaintiff's vehicle and
                                                           began accusing him of having a “modified
       exhaust” and “illegal window
                                       tint”  both officers were informed
                                                                           that this was harassment.
       Plaintiff requested a supervisor which Officers
                                                            ignored throwing a citation for 55$ at
       Plaintiff sitting in his vehicle. Officer also threatened
                                                                 Plaintiff with arrest for trespassing.
        Complaints against those officers were filed with the
                                                                  Northampton Police Department.
 10.   On March 5th 2020, The
                                        Northampton Police Department assigned Captain
Powers as the investigating officer for                                                          Robert
                                               the allegations against Officer
Borowski, Officer Wislon, and Officer Barry. The issue                               Netto,  Lieutenant
                                                               in question was why someone who has
never been pulled over by the Northampton Police all
                                                              of sudden is pulled over 3 times in less
                                                   2
         Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 8 of 10



than 90 days? Plaintiff was informed by Powers he was going to speak to the officers regarding
what happened.




11.      On March 17th 2020 Plaintiff went to the Station for an update, Powers began telling
Plaintiff he called the State Police to “ask” about Plaintiff's issues with State Troopers driving
erratically on 91 which has no bearing on complaints against Officers of Northampton. He then
asserted that the Officers were not harassing Plaintiff but that Plaintiff was drawing attention to
himself because he was videotaping officers conducting their duties and told Plaintiff to “stop
recording officers and he won't be targeted”. Please see “Mills V. Alabama” and “Gilk V.
Cunniffe” both cases of 1st Amendment violations, Powers continues        to assert that officers felt
“threatened” by Plaintiff recording them in public which is not a crime. The Police Department
has a public policy around recording police officers in town, Please see AOM-P-249 of the
Police Department's Policy regarding“Recording and photographing Police officers” which
directive of Chief Jody Kasper.
                                                                                                is   a




12.      On March 19th 2020, Officer Brett Wilson #288 and another officer showed up at
Plaintiff's residence of 73 Barrett Street and handed him an in hand copy of an “immediate threat
licence suspension from the Registry of Motor Vehicles”, Officer Wilson was seen laughing
about the matter. Please note this was at the start of the COVID-19 pandemic. This order
Restricting Plaintiff from driving to find work during this period, It was learned later that Officer
David Netto submitted the request on March 13th 2020 and cited in his request that Plaintiff was
seen recording police officers in public conducting their duties and asserts that Plaintiff is a
threat to public safety because of citations given by the City Of Northampton's Police Officers.


13.     On March 19th 2020, Plaintiff was admitted to the hospital as he was having immense
stress and felt the harassment was growing so much he wanted to commit suicide.

                                             COUNT   1,2,3
                                           Defamation
                                         Emotional Stress
                Violation of the 1st Amendment    of
                                                  the United States Constitution:

    The First Amendment protects several basic freedoms                 in
                                                                the United States
 including freedom of religion, freedom of speech, freedom the press, the right
                                                             of

  to assemble, and the right to petition the government. It was part of the Bill of
         Rights that was added        to
                                   the Constitution on December 15, 1791.
14.     Plaintiff reasserts and incorporates by reference every allegation in the preceding
paragraphs   of this complaintas if set forth fully in these counts of the complaint.
           Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 9 of 10



 IS.    The Defendant without a doubt disseminated photos and memorandum not directly but
through   the
            officer she oversees; that was “defamatory” and harmful     to
                                                                    Plaintiff's reputation.

16.     The Northampton Police have deliberately stomped on      the
                                                                       first   amendment rights of the
Plaintiff by their own omissions

Ey.    The Defendant failed to intervene while her officers retaliated against the plaintiff for
complaining about  an
                    officer and their conduct.




WHEREFORE, Plaintiff respectfully requests that the Court:

          A.    Award Plaintiff 850,000 (Eight Hundred and Fifty Thousand Dollars) in
                presumed damages — Plaintiff asserts the stress and turmoil caused by    the
                                                                                           City of
                                                                                   a
                Northampton and its police officers have resulted in the loss of driver's license,
                a vehicle, car insurance, work, lawyers fees to fight the license suspension, and
                ultimately and absolutely stripped the Plaintiffs rights to record the police
                publicly without retaliation.

                Award Plaintiff his costs and disbursements of this suit, including, without
                limitation, reasonable attorneys’, accountants’ and experts’ fees and such interest
                as may be allowed by law; and

          a     Grant Plaintiff such other and further relief as the Court may deem just and
proper.




Dated: May 20th 2020                  By
                                           Plaintiff himself




                                                 foe?          wr
                                                Benjamin Maddison
                                                73 Barrett Street Apartment
                                                Northampton MA 01060
                                                Tel:   860-890-9263
                                                                               PN
                                                E-mail: mitiman26@gmail.com
                                                         Case 3:20-cv-30089-KAR Document 1-3 Filed 06/18/20 Page 10 of 10



                                              COMMONWEALTH OF MASSACHUSETTS                                                      Superior Court Department   the          of
                                              HAMPSHIRE, SS:                                                                     Trial Court of the Commonwealth
                                                                                                                                 Civil Action




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                                                                                       ,Plaintiff (s)
                                          [Sarg                 ack, 7jo)                                                                                                         D
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                                                                                                                                                                            UTY   SHERIFF


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       answer




                     Oo
                    an)
    to           of
                               Office         To the above-named Defendant
    court
                     copy




 in                 a                                  You are hereby summonsed and required to serve upon                                   ,
                                                           attorney, whose address is 2% cente~ Street, Vothampion MA Blogo ,
                                Clerk’s




                    serve                     plaintiff
  personally
                               the            an answer   tothe complaint which is herewith served upon you, within 20 days after service of
                  must                        this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default
                              in
                                              will be taken against you       for
                                                                             the relief demanded in the complaint. You are also required    file                             to
     appear
                   attorney
                              original
                                              your  answer   tothe complaint    the   in
                                                                                     office of the Clerk of this court Northampton, either
                                                                                                                      at                   before
                                              service upon plaintiff attorney or within a reasonable time thereafter.
  not                         the
                   your


need                          file
                                                       Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any
                   or
                                              claim which you may have against the plaintiff which arises out of the transaction or occurrence
You
                  you
                              also            that is the subject matter     of
                                                                          the plaintiff claim or you will thereafter be barred from making such
                                              claim in any other action.
-               either
                                and




                              herein

                                                        Witness, Judith Fabricant, Esquire at Northampton, the
                                              day of                                                   , in the year of our Lord two
                                                                                                                                     thousand
DEFENDANT

                defense,




                  a
                              specified




TO              have

                               as
                                                                                                                         JPaRRY                Jekanausk, &.
                to
                              days

                                                                                                                           CLERK-MAGISTRATE
NOTICE


                claim

                              20




                                             Notes:
                                             1. This summons
                                                             is    issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.
                                             2. When more than one defendant     is involved, the names ofall   defendants should appear in the caption.   If a       separate summons   is
                                             used for each defendant, each should be addressed  to   the particular defendant.
                                             3. Circle type of action involved. Tort - Motor Vehicle Tort - Contract - Equitable relief.
